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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF KENTUCKY
                                AT LOUISVILLE


 UNITED STATES OF AMERICA                                                       PLAINTIFF


 v.                                                       CASE NO. 3:23-CR-00055-DJH


 JOHN ANTHONY SCHMIDT                                                        DEFENDANT


                                   NOTICE OF FILING

        Comes the Defendant, JOHN ANTHONY SCHMIDT, by counsel, and submits the

 attached additional letter of support for his sentencing set for Monday, January 8, 2024 at

 1:30 p.m.

                                               Respectfully Submitted,


                                               /s/ Patrick J. Renn
                                               Counsel for Defendant
                                               600 West Main Street, Suite 100
                                               Louisville, Kentucky 40202
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                                               prenn@600westmain.com


                              CERTIFICATE OF SERVICE

        I hereby certify that on January 8, 2024, I electronically filed with the Clerk of the
 Court by using the CM/ECF system, which will serve notice of electronic filing to all
 attorneys of record.

                                               /s/ Patrick J. Renn
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